Case 2:21-cv-05017-PKC-SIL Document 27 Filed 10/19/22 Page 1 of 2 PageID #: 310



                                                                      MOSER LAW FIRM, PC
Steven J. Moser
Tel: 631-824-0200
steven.moser@moserlawfirm.com

                                                              October 19, 2022

VIA ECF

Hon. Pamela K. Chen, USDJ
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

        Re:      Gonzalez v The Cheesecake Factory Restaurants, Inc,
                 Case No. 21-cv-05017-PKC-SIL

Dear Judge Chen:

        I represent the Plaintiff in the above referenced matter. I write with regard to an
anticipated motion to amend the complaint and add parties pursuant to FRCP 15 and 21.

        Background. For more than 125 years the State of New York has required employers to
pay manual workers weekly and all wages within 7 days after the end of the workweek in which
they were earned. See People v. Vetri, 309 N.Y. 401, 405, 131 N.E.2d 568, 570 (1955); L. 1890,
ch. 388, § 1; NYLL § 191. On September 8, 2021 Noe Gonzalez commenced this action
individually and on behalf of other cooks1 employed in the State of New York who were not
timely paid by The Cheesecake Factory Restaurants, Inc. The complaint also alleged violations
of the hiring notice provisions of NYLL § 195.

        On May 20, 2022, the Defendant filed a motion to stay this case and compel individual
arbitration. See ECF Nos. 18-20. Defendant asserted that a Spanish-language arbitration
agreement signed by the Plaintiff is valid and enforceable. Plaintiff responded that the
agreement was neither binding nor valid, and that the Defendant’s motion was unsupported by
evidence in admissible form because the Spanish-language agreement was unaccompanied by a
certified translation.

       On September 28, 2022, the Plaintiff sent a proposed First Amended Complaint to
counsel for the Defendant asking whether Defendant would consent to the amendment.
Thereafter, on October 12, 2022 counsel for the respective parties had a telephone conference in



1
  Significantly, the New York State Department of Labor has already opined that “[c]ooks and wait staff … are
classified as ‘manual workers’ under Article 6 of the Labor Law, and as such, they must be paid weekly and not later
than seven calendar days after the end of the week in which the wages are earned unless authorized by the
Commissioner of Labor[.]” Dep’t of Labor Opinion Letter RO-08-0139.



                                   5 E. Main St., Huntington, NY 11743
                                   www.moseremploymentlaw.com
Case 2:21-cv-05017-PKC-SIL Document 27 Filed 10/19/22 Page 2 of 2 PageID #: 311
Hon. Pamela K. Chen, USDJ                                                 MOSER LAW FIRM, PC
Gonzalez v The Cheesecake Factory Restaurants, Inc,
Case No. 21-cv-05017-PKC-SIL
Page 2

a good faith attempt to resolve the amendment issue without the need for Court intervention.
The parties were unsuccessful in resolving the issue.

        The Proposed First Amended Complaint. A redlined version of the proposed First
Amended Complaint is annexed hereto as Exhibit 1. The clean version is annexed hereto as
Exhibit 2. The proposed changes are as follows. An additional representative – Keith Calvagno
– has been added and the class definition has been expanded to include “all manual workers
employed by the Defendant in the State of New York.” The Second Cause of Action for
violations of NYLL § 195(3) has been removed.

        Standard. “Rule 15 requires that the Court should ‘freely give leave’ to amend a pleading
‘when justice so requires.’” Dixon v. Attica Corr. Facility, 2021 U.S. Dist. LEXIS 211875, at *3
(S.D.N.Y. Nov. 2, 2021). A motion to add additional class representatives is a motion to join parties
under Rule 21. And the standard for deciding whether to permit joinder under Rule 21 is “the same
standard of liberality afforded to motions to amend pleadings under Rule 15.” Agerbrink v. Model
Serv. L.L.C., 155 F. Supp. 3d 448, 452 (S.D.N.Y. 2016). “Generally, ‘[i]n the absence of any
apparent or declared reason’ for denying such leave, ‘the leave sought should, as the rules
require, be 'freely given[.]'” Goney v. SuttonPark Capital LLC, Nos. 21-188, 21-1101, 2021 U.S.
App. LEXIS 32562, at *4 (2d Cir. Nov. 2, 2021)(quoting Foman v. Davis, 371 U.S. 178, 182, 83
S. Ct. 227, 9 L. Ed. 2d 222 (1962)).

       Conclusion. For the foregoing reasons, Plaintiff requests a pre-motion conference
regarding an anticipated motion to amend the complaint.

                                                      Very truly yours,

                                                      Steven J. Moser
                                                      Steven J. Moser

CC:    All counsel of record via ECF




                            5 E. Main St., Huntington, NY 11743
                            www.moseremploymentlaw.com
